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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

WHITMAN-WALKER                      )
CLINIC, INC., et al.,               )
                                    )
      Plaintiffs,                   )
                                    )
      v.                            )    Case No. 1:20-cv-01630-JEB
                                    )
U.S. DEPARTMENT OF HEALTH           )
AND HUMAN SERVICES, et al.,         )
                                    )
      Defendants.                   )
                                    )


     MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                     PLAINTIFFS’ COMPLAINT
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                                         INTRODUCTION
        In this Court’s prior opinion granting in part and denying in part plaintiffs’ Motion for

Preliminary Injunction, see Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Human Servs.,

--- F. Supp. 3d ---, No. CV 20-1630 (JEB), 2020 WL 5232076 (D.D.C. Sept. 2, 2020), this Court

found that plaintiffs have standing to raise and are likely to succeed on two claims: that the 2020

Rule arbitrarily and capriciously (1) eliminated “sex stereotyping” from the prior Rule’s definition

of “discrimination on the basis of sex”, and (2) incorporated Title IX’s exemption of certain

religious organizations from the statute’s nondiscriminiation mandate. But this Court also held

that plaintiffs likely lack standing to raise or are not likely to succeed on the merits of several other

claims. For similar reasons, defendants now argue these other claims should be dismissed under

Rule 12(b)(1) and 12(b)(6).

        Plaintiffs do not allege facts that sufficiently satisfy the close scrutiny demanded to

establish standing to raise most of their claims. Indeed, the Complaint is devoid of any facts—let

alone clearly alleged ones—supporting their standing to challenge several of the 2020 Rule’s

provisions. Because plaintiffs lack standing to contest the 2020 Rule, their claims should be

rejected—and ultimately dismissed.

        What is more, several of the actions challenged by plaintiffs, such as HHS’s decision not

to define “on the basis of sex” by rule, involve HHS’s discretion to decline to proceed by

rulemaking. To the extent they involve allegations that courts and HHS will ignore relevant

Supreme Court jurisprudence in interpreting Section 1557 in the future, they are both unripe and

implausible. The Court should dismiss plaintiffs’ challenges to these claims because they are

entirely contingent upon the outcome of future adjudication of Section 1557.

        To the extent this Court has jurisdiction over ripe issues in this case, plaintiffs still fail to

state a claim upon which relief may be granted. HHS’s reasoned explanation for the policy

changes contained in the 2020 Rule within its authority more than adhered to the standards for

reasoned decisionmaking required by the Administrative Procedure Act.

        Although defendants respectfully disagree with this Court’s conclusions with respect to

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plaintiffs’ standing and likelihood of success in challenging HHS’s decision to remove an explicit

definition of “on the basis of sex” and HHS’s explicit incorporation of Title IX’s exemption of

certain religious organizations into the 2020 Rule, defendants intend to address those claims, to

the extent necessary, later in this litigation and potentially on appeal.

                                          BACKGROUND
       Relevant statutory and regulatory background is set out in detail in this Court’s prior

opinion granting in part and denying in part plaintiffs’ Motion for Preliminary Injunction, see

Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Human Servs., --- F. Supp. 3d ---, No. CV

20-1630 (JEB) 2020 WL 5232076, at *2-*6 (D.D.C. Sept. 2, 2020), and in defendants’

Memorandum in Opposition to Plaintiffs’ Motion for a Preliminary Injunction, see ECF No. 42 at

2-8. Given the posture of the case, defendants summarize only the relevant procedural history

here; defendants will summarize plaintiffs’ allegations related to provisions of the 2020 Rule that

have not previously been addressed by this Court in the relevant argument section below.

       On June 19, 2020, HHS issued a Final Rule implementing Section 1557 of the ACA (“2020

Rule”). 85 Fed. Reg, 37,160, 37,160 (June 19, 2020). The non-enjoined provisions of the Rule

went into effect on August 18, 2020. Id. Plaintiffs filed a Complaint (“Complaint” or “Compl.”)

on June 22, 2020, challenging many of the Rule’s provisions as violating the Administrative

Procedure Act (“APA”), 5 U.S.C. § 706(2)(A)-(C). Compl. ECF No. 1. On July 9, 2020, plaintiffs

moved to preliminarily enjoin many of the provisions of the 2020 Rule they challenge in the

Complaint. Pls.’ Mot. Prelim. Inj., ECF No. 29. This Court granted their motion in part and denied

it in part on September 2, 2020. See Whitman-Walker, 2020 WL 5232076, at *45. Specifically,

this Court preliminarily enjoined HHS “from enforcing the repeal of the 2016 Rule’s definition of

discrimination ‘on the basis of sex’ insofar as it includes ‘discrimination on the basis of . . . sex

stereotyping.’” Id. (quoting 81 Fed. Reg. at 31,375, 31,467 (May 18, 2016)). And this Court

enjoined HHS “from enforcing [the 2020 Rule’s] incorporation of the religious exemption




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contained in Title IX.” Id. Defendants now move to dismiss plaintiffs’ claims under Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6). 1

       Specifically, defendants move to dismiss, for lack of standing, plaintiffs’ claims under 5

U.S.C. § 706(2)(A) and (C), Compl. ¶¶ 235-58, to the extent they apply to the 2020 Rule’s

provisions regarding (1) the legal standards for enforcement of Section 1557 violations, Compl.

¶¶ 230, 245, 254; (2) private rights of action and compensatory damages, id. ¶¶ 231, 245; (3) the

scope of entities subject to Section 1557, Compl. ¶¶ 233, 247; and (4) discrimination on the basis

of association and conforming modifications made to other HHS regulations, Compl. ¶¶ 234, 235,

243, 244, 255.    Defendants move to dismiss, as unripe, plaintiffs’ claims under 5 U.S.C.

§ 706(2)(A)-(C), Compl. ¶¶235-302, to the extent they apply to (1) HHS’s decision not to define

“on the basis of sex” or specific instances of discrimination, like categorical coverage exclusions,

in the 2020 Rule, Compl. ¶¶ 228, 229, 242, 243, 253, 255; (2) the 2020 Rule’s provisions regarding

the legal standards applicable for enforcing Section 1557 claims, id. ¶¶ 230, 245, 254; (3) HHS’s

decision not to explicitly recognize a private right of action for Section 1557 claims in the 2020

Rule, id. ¶ 231; (4) HHS’s decision not to explicitly recognize by rule that compensatory damages

are available for violations of Section 1557, id. ¶ 231; and (5) HHS’s decision not to explicitly

recognize by rule Section 1557’s coverage of discrimination on the basis of association, Compl.

¶¶ 235, 244. Defendants move to dismiss, as moot, plaintiffs’ eighth claim for relief: “equitable

relief to preserve remedy,” id. ¶¶ 303-307. Defendants move to dismiss, for failure to state a claim,

plaintiffs’ claim under 5 U.S.C. § 706(2)(A) that the 2020 Rule violates Section 1554 of the ACA,

Compl. ¶ 248; and plaintiffs’ claims under 5 U.S.C. § 706(2)(A)-(C), Compl. ¶¶ 235-302, to the

extent they apply to (1) HHS’s decision not to explicitly prohibit by rule categorical coverage

exclusions; (2) HHS’s elimination of notice requirements, id. ¶¶ 236, 256; (3) the scope of entities

subject to Section 1557, id. ¶¶ 233, 247, 254; (4) the 2020 Rule’s legal standards for enforcement


1
  To the extent that the Court’s preliminary injunction ruling is appealed and reversed or
modified, defendants reserve the right to move to dismiss any claim that is reversed or modified
at a later date.
                                                 3
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of Section 1557, id. ¶¶ 230, 254; (5) HHS’s decision not to explicitly recognize by rule that

compensatory damages are available for violations of Section 1557, id. ¶¶ 231; (6) HHS’s decision

not to explicitly recognize by rule a private right of action for Section 1557 claims in the 2020

Rule, id.; (7) discrimination on the basis of association, id. ¶¶ 235, 244; and (8) HHS’s conforming

modifications to other regulations, id. ¶¶ 234, 243. Defendants also move to dismiss plaintiffs

claims’ under 7 U.S.C. § 706(2)(B), that defendants violated the constitution, id. ¶¶ 259-302, in

their entirety. 2

                                     LEGAL STANDARDS
        In evaluating a motion to dismiss “the Court must ‘treat the complaint’s factual allegations

as true and must grant plaintiff the benefit of all inferences that can be derived from the facts
alleged.’” Citizens for Responsibility & Ethics in Wash. v. Wheeler (“CREW”), 352 F. Supp. 3d

1, 7 (D.D.C. 2019) (quoting Sparrow v. United Air Lines, Inc., 216 F.3d 1111, 1113 (D.C. Cir.

2000)). “The Court need not accept as true, however, ‘a legal conclusion couched as a factual

allegation,’ nor an inference unsupported by the facts set forth in the Complaint.” Id. Whether

HHS “adhered to the standards of decisionmaking required by the APA” is a legal question that

may be answered on a Rule 12(b)(6) motion. See Marshall Cty. Health Care Auth. v. Shalala, 988

F.2d 1221, 1226 (D.C. Cir. 1993).

        “To survive a motion to dismiss under Rule 12(b)(1), a plaintiff generally bears the burden

of proving that the Court has subject-matter jurisdiction to hear its claims.” CREW, 352 F. Supp.

3d at 7. “For this reason, ‘the plaintiff’s factual allegations in the complaint will bear closer

scrutiny in resolving a 12(b)(1) motion’ than in resolving a 12(b)(6) motion for failure to state a


2
  If this Court grants defendants’ motion to dismiss in its entirety, only plaintiffs’ claims under 5
U.S.C. § 706(2)(A) regarding the 2020 Rule’s incorporation of Title IX’s religious exemption,
Compl. ¶¶ 232, 246, would remain. Those claims should be dismissed for the reasons defendants
explained in their Memorandum of Points and Authorities in Opposition to Plaintiffs’ Motion for
a Preliminary Injunction or Stay Pending Judicial Review, ECF No. 42. Nevertheless, as
explained in the introduction, in light of this Court’s preliminary injunction ruling, defendants
intend to address those claims, to the extent necessary, later in this litigation and potentially on
appeal.
                                                 4
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claim.” Id. (quoting Grand Lodge of Fraternal Order of Police v. Ashcroft, 185 F. Supp. 2d 9, 13-

14 (D.D.C. 2001)).

                                            ARGUMENT
I.     PLAINTIFFS HAVE FAILED TO ESTABLISH SUBJECT MATTER JURISDICTION AS TO
       MANY OF THEIR CLAIMS AND THOSE CLAIMS SHOULD BE DISMISSED UNDER RULE
       12(b)(1)

                   A. Plaintiffs Lack Standing
       Because “[s]tanding is not dispensed in gross,” Davis v. FEC, 554 U.S. 724, 734 (2008)

(quoting Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996)), plaintiffs “must demonstrate standing for

each claim [they] seek[] to press” and for “each form of relief sought,” DaimlerChrysler Corp. v.

Cuno, 547 U.S. 332, 352 (2006). Specifically, plaintiffs must allege facts supporting an “injury in

fact” that is “fairly . . . trace[able]” to each challenged provision of the 2020 Rule and that will “be

redressed by a favorable decision,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

“Where, as here, a case is at the pleading stage, [a] plaintiff must clearly allege facts demonstrating

each element.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016), as revised (May 24, 2016)

(citation omitted). “[A] party cannot rest on ‘abstract’” or “‘conclusory’ assertions of injury, . . .

but must point to ‘specific, concrete facts demonstrating harm.’” Twin Rivers Paper Co. v. SEC,

934 F.3d 607, 612-13 (D.C. Cir. 2019) (citations omitted).

       The Complaint is devoid of any facts—let alone clearly alleged ones—supporting

Plaintiffs’ standing to challenge the 2020 Rule’s provisions relating to (1) the legal standards for

enforcement of Section 1557 violations, (2) the explicit recognition of private rights of action and

the availability of compensatory damages under Section 1557, (3) the scope of entities subject to

Section 1557, and (4) the elimination of protections against discrimination on the basis of

association and conforming modifications made to other HHS regulations. These claims thus must

be dismissed.

       (1) Legal standards for enforcement of Section 1557 violations. Where the 2016 rule

blended the enforcement mechanisms available under the underlying civil rights statutes and


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regulations, the 2020 Rule requires Section 1557 claims to be brought using the enforcement

mechanisms available under each respective relevant incorporated civil rights statute(s). The

Complaint’s only allegation of injury related to this provision is that the “elimination of the unitary

standard [in the 2016 rule] harms the Translatin@ Coalition, its members, and individuals whom

it serves by making it more difficult to bring claims of intersectional discrimination.” Compl. ¶

210. Far from “clearly alleg[ing] facts demonstrating each element” of standing, Spokeo, 136 S.

Ct. at 1547, this allegation, as this Court previously determined, “is murky, to say the least.”

Whitman-Walker, 2020 WL 5232076, at *19. “Nowhere do [plaintiffs] suggest that HHS’s

interpretation of the standard for Section 1557 claims causes LGBTQ individuals to fear

discrimination,” (even assuming fear of discrimination could establish standing, which it does

not) 3 “or even that it exposes them to a heightened risk of discrimination.” Id. The Complaint
includes no facts clearly alleging how Translatin@ Coalition’s “ability to provide services” has

purportedly been impaired by this provision or how it has purportedly “used its resources to

counteract that harm.” See Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 919 (D.C. Cir.

2015). And because “an organization’s use of resources for litigation . . . or advocacy is not

sufficient to give rise to an Article III injury,” id., the Complaint’s allegation that the Rule makes

it “more difficult to bring claims of intersectional discrimination,” Compl. ¶ 210, is insufficient.

       To the extent Translatin@ Coalition is attempting to invoke associational standing, the

Complaint is insufficient because it fails to “identify at least one specific member who has suffered,

or is likely to suffer, an injury in fact.” Public Citizen v. Trump, 297 F. Supp. 3d 6, 18 (D.D.C.

2018) (emphasis in original). The Court is being asked to assume not only that an unnamed

Translatin@ Coalition member will come across a healthcare provider that will discriminate

against him at some uncertain point in the future, 4 but also that the healthcare provider’s


3
  See City of Los Angeles v. Lyons, 461 U.S. 95 (1983); see also Allen v. Wright, 468 U.S. 737,
755-56 (1984) (“abstract stigmatic injury [is] not cognizable”).
4
  See Twin Rivers Paper Company LLC v. SEC, 934 F.3d 607, 613 (D.C. Cir. 2019) (quoting
Chamber of Commerce v. EPA, 642 F.3d 192, 199 (D.C. Cir. 2011) (“It is ‘not enough to aver
than unidentified members have been injured.’”)
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discriminatory conduct will have occurred because of the Rule’s return to the enforcement

mechanisms provided for, and available under, longstanding civil rights statutes and the

Department’s implementing regulations. This causal chain is far from predictable and, as this

Court has explained, “[t]he proper context for quarrels surrounding the legal standard for Section

1557 claims would be an actual lawsuit bringing such a claim.” Whitman-Walker, 2020 WL

5232076, at *20.

       (2) Private rights of action and compensatory damages. The Final Rule eliminated

provisions in the 2016 Rule that explicitly stated that an individual or entity may bring a civil

action in a United States District Court to challenge a violation of Section 1557. 85 Fed. Reg. at

37,203. But HHS did not determine, in the 2020 Rule, that private rights of action are not available

to plaintiffs. Instead, HHS declined to take a position by rule. HHS “no longer intends to take a

position in its regulations on the issue of whether Section 1557 provides a private right of action.”

85 Fed. Reg. at 37,203. To the extent Section 1557 permits a private right of action, plaintiffs can

assert claims under the statute itself, meaning they have suffered no injury from the Final Rule.

       The Final Rule also eliminated § 92.301(b) of the 2016 Rule, which provided that

“[c]ompensatory damages for violations of Section 1557 are available in appropriate

administrative and judicial actions brought under this rule.” 85 Fed. Reg. at 37,202. But HHS did

not replace this provision with a rule indicating that compensatory damages are never available in

any Section 1557 action. In the preamble, HHS stated that it intends the change to be consistent

with “applicable Federal case law,” holding that “compensatory damages are generally unavailable

for claims based solely on a Federal agency’s disparate impact regulations.” Id. Instead, like the

legal standard applicable in Section 1557 claims, whether compensatory damages are available

depends on whether they are available under the statutes and regulations applicable to Title VI,

Title IX, the Age Act, or Section 504 claims, respectively. Id. at 37,202-37,203.

       Plaintiffs claim that the 2020 Rule’s “elimination of the explicit recognition of private

rights of action and the availability of compensatory damages under Section 1557 . . . will confuse

the public and mislead individuals into not asserting their legal rights.” Compl. ¶ 16; see also id.

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¶ 231 (same). But abstract injuries, like public confusion and public deception, which are

“common to all members of the public,” Lujan, 504 U.S. at 575, fall short of what Article III

requires. Plaintiffs make no further allegations in the Complaint shedding any light on how the

alleged state of uncertainty and confusion actually harms them in a concrete way. See N. Eng.

Power Generators Ass’n v. FERC, 707 F.3d 364, 369 (D.C. Cir. 2013) (“It would be a strange

thing indeed if uncertainty were a sufficiently certain harm to constitute an injury in fact.”); see

also Gerber Prods. Co. v. Perdue, 254 F. Supp. 3d 74, 81 (D.D.C. 2017) (“[U]ncertainties that

arise from regulatory decisions are not the kind of concrete and particularized injuries to establish

an injury in fact.”); In re African-Am. Slave Descendants Litig., 304 F. Supp. 2d 1027, 1050 (N.D.

Ill. 2004) (“[A]lleging a general state of confusion . . . fail[s] to allege any injury-in-fact” without

specific facts clearly demonstrating some injury “that has come about as a result of that

confusion.”).

        What is more, plaintiffs cannot plausibly establish a concrete injury-in-fact caused by a

regulation that takes no position one way or the other on whether its authorizing statute includes

an implied private right of action. Private rights of action are created by Congress, not agencies.

Alexander v. Sandoval, 532 U.S. 275, 291 (2001). And HHS explained that the 2020 Rule does

not (and cannot) eliminate any private right of action created by Congress. To the contrary, “[t]o

the extent that Section 1557 permits private rights of action, plaintiffs can assert claims under

Section 1557 itself rather than under the Department’s Section 1557 regulation.” 85 Fed. Reg. at

37,203. Plaintiffs cannot plausibly make any “effort to explain why providers or insurers would

be willing to risk revising their practices or policies” in some way because of the lack of a private

right of action in the rule, in light of the continued plausibility that the statute itself includes such

an implied right of action. See Washington v. HHS, No. C20-1105 JLR, 2020 WL 5095467, at *8

(W.D. Wash. Aug. 28, 2020); see also Clapper v. Amnesty Int’l USA, 568 U.S. 398, 413 (2013)

(no standing where plaintiffs “can only speculate as to whether [a] court will” make a certain

conclusion). And no different than the legal standard applicable to Section 1557 claims, “[t]he

proper context for quarrels surrounding the [availability of compensatory damages] for Section

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1557 claims would be an actual lawsuit bringing such a claim.” See Whitman-Walker, 2020 WL

5232076, at *20.

       (3) Scope of entities subject to Section 1557. The 2020 Rule “modifies the 2016 Rule’s

definition of entities covered by Section 1557,” 85 Fed. Reg. at 37,162, which will now extend to

“(1) [a]ny health program or activity, any part of which is receiving Federal financial assistance

(including credits, subsidies, or contracts of insurance) provided by [HHS]; (2) any program or

activity administered by [HHS] under Title I of the ACA; or (3) any program or activity

administered by any entity established under such Title.” Id. at 37,169, 37,244 (codified at

§ 92.3(a)). HHS changed this definition “in order to align it more closely with the statutory text.”

Id. at 37,162.

       The Complaint’s only allegation of injury stemming from this change is that it

purportedly “will cause drastic reductions in protections for LGBQ people.” Compl. ¶ 21. This

Court previously held that plaintiffs lack standing to assert the claim, and for good reason. As an

initial matter, this allegation is insufficient to establish injury particularized to any of the named

plaintiffs—either organizational or associational. And even if it were particularized, “[s]imply

asserting, without any elaboration, that individuals will experience discrimination at the hands of

Title I programs and health insurers does not ‘suffice to demonstrate the substantial probability’

that discrimination will actually occur as required to establish standing.” Whitman-Walker, 2020

WL 5232076, at *18 (quoting Chamber of Commerce v. EPA, 642 F.3d 192, 201 (D.C. Cir.

2011)). And “[e]qually glaring is the absence of any explanation as to how Plaintiffs’ alleged

injury”—to the extent they have alleged any injury in the Complaint at all—“is caused by these

regulatory actions.” Id.

       (4) Elimination of protections against discrimination on the basis of association and

HHS’s decision to make conforming modifications to other HHS regulations. The Complaint

includes a claim that the 2020 Rule violates the APA because HHS “failed to provide a sufficient

explanation for the decision to eliminate protections against discrimination on the basis of

association.” Compl. ¶ 235; see also id. ¶ 244. And the Complaint claims that conforming

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amendments the agency made to related regulations are contrary to law and arbitrary and

capricious. Id. ¶¶ 234, 243. But the Complaint is utterly devoid of any allegations—let alone clear

ones—explaining how any plaintiff has been injured by and otherwise has standing to challenge

these aspects of the 2020 Rule.
                   B. Plaintiffs’ Challenges to HHS’s Decision not to Define “On the Basis
                      of Sex” and Several of HHS’s Other Decisions are Not Ripe for
                      Review
       Section 1557 prohibits covered entities from discriminating, among other things, on the

basis of sex. Although the 2016 Rule provided a non-exhaustive definition of what that term

means, HHS declined to include a definition of “on the basis of sex” in the 2020 Rule. See 85 Fed.

Reg. at 37,244 (to be codified at § 92.2). The Rule instead “relies upon[] the plain meaning of the

term in the statute,” 85 Fed Reg. at 37,178, consistent with Section 1557(c) 5 and black letter law
permitting agencies discretion to decline to proceed by rulemaking, see NLRB v. Bell Aerospace

Co., 416 U.S. 267, 294 (1974) (“[T]he choice between rulemaking and adjudication lies in the first

instance within the [agency’s] discretion.”); SEC v. Chenery Corp., 332 U.S. 194, 203 (1947)

(“[T]he choice made between proceeding by general rule or by individual, ad hoc litigation is one

that lies primarily in the informed discretion of the administrative agency.”). Because the 2020

Rule merely replaces the 2016 Rule’s explicit definition of “on the basis of sex” by hewing to the

text of Section 1557, in the preamble to the 2020 Rule, HHS recognized that, “to the extent a

Supreme Court decision is applicable in interpreting the meaning of a statutory term, the

elimination of a regulatory definition of such term would not preclude application of the Court’s

construction.” 85 Fed. Reg. at 37,168.

       With that context in mind, plaintiffs’ challenge to HHS’s decision to decline to include a

definition of “on the basis of sex” in the 2020 Rule—premised on plaintiffs’ speculation that the

2020 Rule does not cover sexual orientation or gender identity discrimination—is not ripe.




5
  Section 1557(c) provides that HHS “may”—not shall—“promulgate regulations to implement
this section.”
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        [T]he ripeness requirement is designed “to prevent the courts, through avoidance
        of premature adjudication, from entangling themselves in abstract disagreements
        over administrative policies, and also to protect the agencies from judicial
        interference until an administrative decision has been formalized and its effect felt
        in a concrete way by the challenging parties.”
Ohio Forestry Ass’n v. Sierra Club, 523 U.S. 726, 732-33 (1998) (quoting Abbott Labs. v.

Gardner, 387 U.S. 136, 148-49 (1967)). “Determining whether administrative action is ripe for

judicial review requires [courts] to evaluate (1) the fitness of the issues for judicial decision and

(2) the hardship of the parties of withholding court consideration.” Nat’l Park Hosp. Ass’n v. U.S.

Dep’t of Interior, 538 U.S. 803, 808 (2003). Both hardship and fitness of the issues for decision
must exist for pre-enforcement review to be ripe. See Socialist Labor Party v. Gillian, 406 U.S.

583, 588 (1972) (admitting the existence of standing (and thus of injury) but deeming the matter

unripe because issue was unfit for judicial decision); S. C. Elec. & Gas Co. v. ICC, 734 F.2d 1541,

1545 (D.C. Cir. 1984) (determining agency policy not ripe for review where one “portion of the

test is not met”).

        Hardship. Defendants recognize that this Court has preliminarily found plaintiffs have

standing based on purportedly concrete injuries stemming from the subjective fears of third parties

reacting to the Rule’s lack of an explicit definition of “on the basis of sex.” See Whitman-Walker,
2020 WL 5232076, at *12. Defendants respectfully dispute that this injury is both sufficiently

supported in the record and fairly traceable to defendants, but as noted in the introduction supra,

defendants intend to address standing for this claim, if necessary, at summary judgment.

        But plaintiffs’ injuries are insufficient to establish hardship from awaiting litigation of their

claim until after some concrete instance of actual discrimination.            That is because “mere

uncertainty as to the validity of a legal rule”—the bedrock of the subjective fear that this Court has

premised standing upon in this case—does not “constitute[] a hardship for purposes of the ripeness

analysis.” Nat’l Park Hosp. Ass’n, 538 U.S. at 811. To be sure, it is “easier, and certainly cheaper,

to mount one legal challenge against the [2020 Rule] now, than to pursue many challenges to each”

plausible instance of hypothetical future discrimination by a health program or activity to establish

the meaning of “on the basis of sex” though adjudication or litigation under Section 1557. Ohio

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Forestry Ass’n, 523 U.S. at 734-35. But courts have “not considered this kind of litigation cost

saving sufficient by itself to justify review in a case that would otherwise be unripe.” Id.

        Fitness of the Issues for Decision. Whether or not the hardship criterion is satisfied is

ultimately irrelevant because the nature of the issue on which plaintiffs seek review—HHS’s

decision not to define the meaning of a statutory term by rule, but to permit its meaning to develop

through case-by-case adjudication—is precisely “the kind of ‘abstract disagreement over

administrative policies,’ . . . that the ripeness doctrine seeks to avoid.” Ohio Forestry Ass’n, 523

U.S. at 736 (quoting Abbott Labs., 387 U.S. at 148); see also Time Warner Entm’t Co., L.P. v.

FCC, 93 F.3d 957, 974 (D.C. Cir. 1996) (quoting Chamber of Commerce v. Reich, 57 F.3d 1099,

1100 (D.C. Cir. 1995)) (pre-enforcement review unripe where claim is not “sufficiently fleshed

out for the court to see the concrete effects and implications of its decision”).

        “Among other things, the fitness of an issue for judicial decision depends on whether it is

‘purely legal, whether consideration of the issue would benefit from a more concrete setting, and

whether the agency’s action is sufficiently final.’” Atl. States Legal Found. v. EPA, 325 F.3d 281,

284 (D.C. Cir. 2003) (quoting Clean Air Implementation Project v. EPA, 150 F.3d 1200, 1204

(D.C. Cir. 1998)). To be sure, the questions in this case are purely legal, “[b]ut even purely legal

issues may be unfit for review.” Id. Here, the issues are not fit for judicial review because of the

latter two factors.

        In this case, plaintiffs’ challenge to HHS’s decision not to define “on the basis of sex” by

rule is not ripe for review because “further administrative action is needed to clarify the agency’s

position.” Aulenback, Inc. v. FHA, 103 F.3d 156, 167 (D.C. Cir. 1997) (quoting Action All. of

Senior Citizens of Greater Phila. v. Heckler, 789 F.2d 931, 940 (D.C. Cir. 1986)). As in

Aulenback, HHS denies promulgating the policy plaintiffs purport that it has promulgated. See

id.; see also Truckers United for Safety v. FHA, 139 F.3d 934, 937-38 (D.C. Cir. 1998) (challenge

to agency guidance particularly unripe where petitioners claim agency guidance clearly establishes

a certain policy but government disagrees and the guidance “do[es] not [establish purported policy]



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with the clarity necessary for the court to intercede without first giving the agency a chance to

apply its regulations in a concrete factual situation”).

       Plaintiffs allege that “HHS takes the position that . . . discrimination on the basis of sex

under Title IX does not encompass discrimination on the basis of gender identity or sex

stereotyping.” Compl. ¶ 88 (citing 85 Fed. Reg. at 37,183-86). With respect to gender identity,

the 2020 Rule’s “position” from the regulation’s preamble that plaintiffs cite was qualified: “to the

extent that a Supreme Court decision is applicable in interpreting the meaning of a statutory term,

the elimination of a regulatory definition of such term would not preclude application of the

Court’s construction.” 85 Fed. Reg. at 37,168. And if any such decision “means that Title IX and

Section 1557 must incorporate protection for gender identity and sexual orientation discrimination,

then that means that the 2020 Rule does, in fact, extend protection against discrimination to

LGBTQ individuals via the Rule’s incorporation of Title IX by reference.” Washington, 2020 WL

5095467, at *8.

       With respect to sex stereotyping, plaintiffs’ claim that “HHS takes the position that . . .

discrimination on the basis of sex under Title IX does not encompass discrimination on the basis

of . . . sex stereotyping” is implausible. See Compl. ¶ 88 (citing 85 Fed. Reg. at 37,183-86).

Nowhere in the cited pages of the preamble did HHS purport to claim that discrimination on the

basis of sex under Title IX dos not encompass sex stereotyping. To the contrary, HHS explained

that, “[t]o the extent that sex stereotyping is a recognized category of sex discrimination under

longstanding Supreme Court precedent, this final rule commits [HHS] to continuing to vigorously

enforce Title IX through Section 1557, and therefore the Department estimates that this final rule

will not have any material effect on the scope of sex stereotyping claims as authorized by Title IX

and Section 1557.” 85 Fed Reg. at 37,239. There is no reason to believe that HHS or courts will

construe Section 1557 to exclude sex stereotyping claims in light of HHS’s decision to decline to

explicitly define “on the basis of sex” by rule to include sex stereotyping. Considering the

implausibility of HHS determining in a concrete case that Section 1557’s prohibition on sex

discrimination excludes “sex stereotyping,” principles of judicial restraint demand that this Court,

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at a minimum, await any such concrete determination and not undertake the abstract exploration

plaintiffs presently request.

       If adjudication of concrete cases establishes that the 2020 Rule covers the very type of

discrimination plaintiffs fear it does not cover, this case may be entirely advisory. See Texas v.

United States, 523 U.S. 296, 300 (1998) (quoting Thomas v. Union Carbide Agric. Prods. Co., 473

U.S. 568, 580-81 (1985)) (“A claim is not ripe for adjudication if it rests upon ‘contingent future

events that may not occur as anticipated, or indeed may not occur at all.’”); see also Trans Union

LLC v. FTC, 295 F.3d 42, 51 (D.C. Cir. 2002) (“Unless and until [agency] determines [meaning

of regulatory term], and at what level, the issue is not fit for the court to consider”). Plaintiffs’

claims that HHS failed to engage in reasoned decision-making by failing to consider Bostock are

entirely irrelevant if adjudication or litigation establishes that the plain meaning of Section 1557

covers sex stereotyping, sexual orientation, and gender identity discrimination. Compl. ¶ 89; see

Texas, 523 U.S. at 301 (“The operation of the statute is better grasped when viewed in light of a

particular application.”). For these reasons, resolution of the meaning of Section 1557 should

await a concrete dispute about a particular instance of discrimination.

       Moreover, “consideration of the issue would benefit from a more concrete setting.” Atl.

States, 325 F.3d at 284 (citation omitted). Indeed, the Supreme Court had the benefit of concrete

cases to determine that sexual orientation and transgender discrimination is encompassed in sex

discrimination under Title VII—and it declined to go further, emphasizing “the benefit of

adversarial testing” in other specific contexts before drawing further conclusions. Bostock v.

Clayton Cty., 140 S. Ct. 1731, 1753 (2020). So too here.

       The same principles bar pre-enforcement judicial review of several of plaintiffs’ other

claims, specifically: HHS’s decision not to explicitly prohibit categorical coverage exclusions by

rule; HHS’s decision not to take a position on implied private rights of action by rule; HHS’s

decision on the legal standards applicable for enforcing Section 1557 claims; HHS’s decision as

to whether compensatory damages are available for Section 1557 claims; and HHS’s decision not

to include provisions barring associational discrimination by rule are not ripe. Adjudication or

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litigation may establish that Section 1557’s prohibition on sex discrimination renders categorical

coverage exclusion of gender-affirming care illegal. And litigation over concrete claims of

discrimination may establish whether a private right of action exists for enforcing Section 1557

regardless of the 2020 Rule’s silence on that issue. Finally, the “proper context for quarrels

surrounding the legal standard for Section 1557 claims [and, in equal measure, the extent to which

compensatory damages are available,] would be an actual lawsuit bringing such a claim.” See

Whitman-Walker, 2020 WL 5232076, at *20.

                    C. Plaintiffs’ Eighth Claim for Relief Should be Dismissed as Moot.

        Plaintiffs’ Eighth Claim for Relief—“Equitable Relief to Preserve Remedy,” Compl.

¶¶ 303-307—to the extent it states a claim at all—should be dismissed as moot. Plaintiffs claim

that the 2020 Rule “will become effective on August 18, 2020 unless it is enjoined,” and that they

“are entitled to a . . . process to adjudicate the lawfulness of the [2020 Rule] before being required

to implement its . . . requirements.” Compl. ¶ 304. Because August 18, 2020, has passed, and the

challenged provisions of the 2020 Rule are either in effect or preliminarily enjoined, plaintiffs’

Eighth Claim for Relief is moot and should be dismissed. See CREW, 352 F. Supp. 3d at 8 (quoting

Lemon v. Geren, 514 F.3d 1312, 1315 (D.C. Cir. 2008)) (“If ‘intervening events make it impossible

to grant the prevailing party effective relief,’ no live controversy remains.”).

II.     MOST OF PLAINTIFFS’ CLAIMS SHOULD BE DISMISSED UNDER RULE 12(b)(6).

        In addition to its jurisdictional defects, the Complaint fails to state claims upon which relief

may be granted. “Rule 12(b)(6) authorizes a court to dismiss a claim on the basis of a dispositive

issue of law.” Neitzke v. Williams, 490 U.S. 319, 326 (1989). And “[t]o survive a motion to

dismiss [under Rule 12(b)(6)], a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Most of plaintiffs’ claims under

5 U.S.C. § 706(2)(A)-(C) should be dismissed on the basis of dispositive issues of law. And

plaintiffs’ equal protection claim under § 706(2)(B) is also unsupported by sufficient factual matter

to state a plausible claim for relief.

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       D. Plaintiffs’ Claims that the 2020 Rule Violates the APA Fail as a Matter of Law.

       Whether HHS “adhered to the standards of decisionmaking required by the APA” is a legal

question that may be answered on a Rule 12(b)(6) motion. See Marshall Cty. Health Care Auth.,

988 F.2d at 1226. Because plaintiffs have failed to plausibly state a claim that HHS violated the

APA in promulgating the 2020 Rule, their Complaint should be dismissed. In its preliminary

injunction ruling, this Court held that plaintiffs are not likely to succeed on the merits of their

claims that HHS erroneously eliminated the 2016 Rule’s prohibition on categorical coverage

exclusions for gender-affirming care, improperly repealed the 206 Rule’s notice requirements, and

violated Section 1554. For similar reasons, those claims should be dismissed under Rule 12(b)(6).

The Court did not address in the preliminary injunction ruling the merits of other claims addressed

in this motion, either because the Court determined plaintiffs lack standing to raise them or because

plaintiffs did not seek to preliminarily enjoin the regulatory requirements cited in those claims. In

either case, even if plaintiffs have standing to raise these other claims, they too fail on the merits.
           1. HHS’s Decision not to Include an Explicit Prohibition on Categorical
              Coverage Exclusions is Lawful
       HHS did not exceed its statutory authority in declining to include an explicit prohibition

on categorical coverage exclusions in the 2020 Rule. Although HHS’s 2016 Rule included a

provision prohibiting covered entities from “[h]av[ing] or implement[ing] a categorical coverage

exclusion or limitation for all health services related to gender transition,” 45 C.F.R. §

92.207(b)(4), that mandate was not required by Section 1557. As HHS explained in issuing the

2020 Rule, “[t]here is no statutory authority to require the provision or coverage of such procedures

under Title IX protections from discrimination on the basis of sex.” 85 Fed. Reg. at 37,198. HHS’s

determination was, at the very least, a reasonable one entitled to deference. See Chevron, U.S.A.,

Inc. v. NRDC, 467 U.S. 837, 844 (1984).

       Additionally, as this Court previously held, HHS’s decision satisfies the “‘narrow’ scope

of arbitrary-and-capricious review.” Whitman-Walker, 2020 WL 5232076, at *29. “When an

agency changes a policy position, ‘it need not demonstrate to a court’s satisfaction that the reasons


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for the new policy are better than the reasons for the old one.’” Id. at *30 (quoting FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009)). “Instead, ‘it suffices that the new policy is

permissible under the statute,’ and ‘that there are good reasons for it.’” Id. (quoting Fox, 556 U.S.

at 515). Because “HHS confronted its prior policy regarding prohibitions on categorical coverage

exclusions and delivered a sufficiently reasoned explanation for its new position,” its policy

change was not arbitrary or capricious. Id. Specifically, HHS “consulted scientific studies,

government reviews, and comments from a host of medical professionals regarding treatment for

gender dysphoria.” Id. (citing 85 Fed. Reg. at 37,187, 37,196-98). HHS reasonably determined

that “‘the medical community is divided on many issues related to gender identity, including the

value of various gender-affirming treatments for gender dysphoria (especially for minors),’” which

“counseled against a blanket prohibition on categorical coverage exclusions of gender-affirming

care.” Id. (quoting 85 Fed. Reg. at 37,187). That is all the APA requires, and thus, the Court

should dismiss this claim.

           2. HHS’s Elimination of Notice Requirements is Lawful

       HHS did not exceed its statutory authority in modifying notice requirements and access to

language protections in the 2020 Rule. See Compl. ¶ 256. Nothing in Section 1557 mandated

those requirements, and the agency’s new construction is a reasonable one entitled to deference.

See Chevron, 467 U.S. at 844. Nor was HHS’s decision to modify the notice of nondiscrimination

requirements and access to language protections “arbitrary and capricious” for lack of an “adequate

justification.” Compl. ¶ 236. To the contrary, as this Court previously held, HHS displayed

awareness that it changed positions and showed good reasons for the new policy. See Whitman-

Walker, 2020 WL 5232076, at *32. “It plainly acknowledged its shift in course from the 2016

Rule.” Id. (citing 84 Fed. Reg. 27,846, 27,868 (June 14, 2019); 85 Fed. Reg. at 37,204). And it

“provided an array of reasons for its change in position.” Id. “For instance, HHS determined that

the costs and burdens imposed by the notice and tagline requirements were ‘substantially larger

than originally anticipated.’” Id. (quoting 84 Fed. Reg. at 27,857). And HHS determined that

“eliminating the requirements would save approximately $2.9 billion over a five-year period.” Id.

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(citing 85 Fed. Reg. at 37,163, 37,224).

       What is more, HHS “cited reports from covered entities of implementation difficulties,

largely resulting from the many different and overlapping notice and language-access requirements

imposed by federal and state governments.” Id. at *33 (citing 85 Fed. Reg. at 37,211 & n.281).

And HHS determined that “high costs often yielded minimal benefit, both because the ‘vast

majority of recipients of taglines do not require translation services’ and because providers were

often required to print taglines in languages that very few individuals spoke.” Id. (citing 85 Fed.

Reg. at 37,233). HHS considered the evidence of the benefits of the 2016 Rule’s requirements

before changing policy, but “determined that the evidence, viewed in its entirety, was consistent

with the conclusion that the 2016 Rule’s notice and tagline requirements ‘did not appreciably

increase the use of translation services.’” Id. (quoting 85 Fed. Reg. at 37,233). In sum, Plaintiffs

have failed to state a claim that HHS’s elimination of the notice and language access requirements

violated the APA.

           3. The 2020 Rule Does not Violate Section 1554 of the ACA

       Contrary to plaintiffs’ claim, Compl. ¶ 248, the 2020 Rule does not violate Section 1554

of the ACA. Section 1554 prohibits HHS from promulgating a regulation that “creates any

unreasonable barriers to the ability of individuals to obtain appropriate medical care,” “impedes

timely access to health care services,” or “interferes with communications regarding a full range

of treatment options between the patient and the provider.” 42 U.S.C § 18114(1)–(3). Plaintiffs

claim that the 2020 Rule violates Section 1554 by “reversing protections against discrimination of

historically marginalized communities and eliminating access to language provisions.” Compl.

¶ 248. But “§ 1554 is meant to prevent direct government interference with health care,”

California v. Azar, 950 F.3d 1067, 1094 (9th Cir. 2020) (en banc), and plaintiffs fail to identify

any direct interference here. Indeed, if “the most natural reading of § 1554 is that Congress

intended to ensure that HHS . . . does not improperly impose regulatory burdens on doctors and

patients,” the 2020 Rule’s elimination of regulatory mandates and return to broad incorporation of

the specified civil rights statutes goes far toward achieving this end. See 85 Fed. Reg. at 37,166.

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Because plaintiffs “cannot show that the Rule places a ‘substantive barrier on individuals’ ability

to obtain appropriate medical care,’” Whitman-Walker, 2020 WL 5232076, at *35 (quoting

California, 950 F.3d at 1095), their Section 1554 claim should be dismissed.

           4. The 2020 Rule Reasonably Construes the Scope of Section 1557.

       Plaintiffs claim that the 2020 Rule’s construction of the scope of Section 1557 is contrary

to law and arbitrary and capricious. See Compl. ¶¶ 138-47, 233, 247, 254. Even if the Court

determines, contrary to its preliminary injunction ruling, that plaintiffs have standing to assert this

claim, the claim should nonetheless be dismissed for failure to state a claim.

       First, plaintiffs complain that the 2020 Rule impermissibly “attempts to limit . . . Section

1557’s nondiscrimination protections only to health programs or activities of HHS that are

administered under Title I of the ACA.” Compl. ¶ 140 (emphasis added). Contrary to plaintiffs’

contention, the language HHS selected represents the most reasonable construction of Section

1557, which provides that nondiscrimination protections apply to “any health program or activity,

any part of which is receiving Federal financial assistance . . . [and] any program or activity that

is administered by an Executive Agency or any entity established under this title [sc., Title I].” 42

U.S.C. § 18116(a). If the second category were read piecemeal, Section 1557 would apply to “any

program or activity that is administered by an Executive Agency”—i.e., all federal action,

regardless of its connection to healthcare or HHS (as well as to any program or activity that is

administered by any entity established under Title I). Clearly, Congress did not intend to have

HHS regulate non-healthcare-related discrimination in programs administered by other agencies.

If Congress had wanted to subject all federal activity to Section 1557’s restrictions, it would have

said so clearly rather than burying such an expansive provision within the ACA, which everywhere

else deals exclusively with healthcare; it also, presumably, would not have given HHS express

authority to adopt implementing regulations if the statute was meant to govern other agencies. See

42 U.S.C. § 18116. “Congress . . . does not alter the fundamental details of a regulatory scheme,”

let alone the sum total of federal activity, “in vague terms or ancillary provisions—it does not, one

might say, hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 468

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(2001). Thus, Section 1557 necessarily must be read in context.

       To avoid an improperly expansive reading of the provision, HHS construed Section 1557

to mean “any health program or activity, any part of which is receiving Federal financial assistance

. . . provided by the Department,” “[a]ny program or activity administered by the Department

under Title I of the Patient Protection and Affordable Care Act,” and “[a]ny program or activity

administered by any entity established under such Title.” 85 Fed. Reg. at 37,244 (codified at 45

C.F.R. § 92.3) (emphasis added). Plaintiffs complain that such a construction represents a

departure from “the plain language of Section 1557.” Compl. ¶ 141. But even the 2016 Rule—

which plaintiffs defend—“acknowledged implicitly what the Department now states more clearly:

The grammar of the relevant sentence in the Section 1557 statutory text concerning limits to its

scope is less clear than it could have been.” 85 Fed. Reg. at 37,170. To address that ambiguity,

the prior rule applied Section 1557 to “every health program or activity administered by the

Department; and every health program or activity administered by a Title I entity.’’ 45 C.F.R. §

92.2(a) (emphasis added). While such a construction avoided applying Section 1557 to all federal

programs and activities, which plaintiffs seemingly agree would be impermissible, it required

injecting the word “health” into the relevant portion of the text, even though Congress had not

included the word in the clause. See 85 Fed. Reg. at 37,170. In the 2020 Rule, HHS instead chose

to rely upon the limitation already in the text—that is, Title I programs and activities. See id. That

approach is, if not the only permissible construction, at least a reasonable construction of the statute

that warrants deference. See Chevron, 467 U.S. at 844.

       Second, plaintiffs argue that the 2020 Rule’s exclusion of health insurers was unreasonable.

See Compl. ¶¶ 142-47. That argument fails too. As noted above, Section 1557 protections extend,

in relevant part, to “any health program or activity” receiving federal financial assistance. 42

U.S.C. § 18116(a). The 2020 Rule construes the phrase as “encompass[ing] all of the operations

of entities principally engaged in the business of providing healthcare that receive Federal financial

assistance.” 85 Fed. Reg. at 37,244 (to be codified at 45 C.F.R. § 92.3(b)). The Rule goes on to

explain that “an entity principally or otherwise engaged in the business of providing health

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insurance shall not, by virtue of such provision, be considered to be principally engaged in the

business of providing healthcare.” Id. at 37,244–45. 6

       Plaintiffs note that “Section 1557 covers ‘health programs and activities,’ not just direct

health care.” Compl. ¶ 146. But in light of the statute’s silence as to the precise reach of the term

“health program or activity,” HHS reasonably defined it by reference to the definition of that exact

term in the civil rights context. Specifically, HHS noted that the Civil Rights Restoration Act

defined “‘program or activity’ in the underlying statutes to apply to all of an entities’ operations

when it is principally engaged in the business of providing ‘healthcare.’” 85 Fed. Reg. at 37,172.

See Mozilla Corp. v. FCC, 940 F.3d 1, 25 (D.C. Cir. 2019) (agency interpretation reasonable where

consistent with another regulatory regime interpreting “nearly verbatim” statutory text rationally

related to the statute at issue). As plaintiffs themselves acknowledge, health insurance is, at most,
“a health-related program or activity.” Compl. ¶ 146. (emphasis added). To be sure, health

insurance is an important tool in ensuring patients receive health services. But just as one would

not say that one’s homeowner’s insurance provides a lodging program or activity, health insurance

does not provide healthcare.

       HHS reasonably relied on a preexisting statutory definition of “program or activity” as a

term of art from the civil rights context instead of concluding that health insurance is a “health

program or activity” within the meaning of Section 1557. If Congress intended for Section 1557

to cover all health insurers, it simply would have said so.

       Finally, HHS’s construction of Section 1557’s scope was not arbitrary or capricious. “An

explanation of why one ‘policy is more consistent with statutory language than alternative policies’

is a good reason for a policy change.” District of Columbia v. U.S. Dep’t of Agric., 444 F. Supp.

3d. 1, 20 (D.D.C. 2020) (quoting Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2127

(2016)), filing appeal, No. 20-5136 (D.C. Cir. May 14, 2020). And that is exactly what HHS did.

6
 Certain health insurance products would remain subject to Section 1557. For example, a
Qualified Health Plan “would be covered by the rule because it is a program or activity
administered by an entity established under Title I (i.e., an Exchange), pursuant to § 92.3(a)(3).”
85 Fed. Reg. at 37,174.
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As explained, the 2020 Rule provides the most reasonable interpretation of Section 1557’s scope

in light of the unchallenged principle that Congress did not intend it “to apply to every program or

activity administered by every Executive agency whether or not it had any relation to health.” 84

Fed. Reg. at 27,862. Far from “casually ignor[ing]” the 2016 Rule’s construction of Section 1557’s

scope, see Greater Bos. Television Corp. v. FCC, 444 F.2d 841, 852 (D.C. Cir. 1970), or departing

from it “sub silentio,” Fox, 556 U.S. at 515, HHS explained that it chose to rely upon a limitation

already in the statutory language—that is, Title I programs and activities—instead of injecting the

word “health” into the statute. See 85 Fed. Reg. at 37,170.
           5. The Final Rule’s Return to Enforcement Mechanisms Separately Available
              under the Civil Rights Statutes Incorporated into Section 1557 Does Not
              Violate the APA.
       Plaintiffs complain that the 2020 Rule is contrary to statutory authority, and arbitrary and

capricious, because it does not create a unitary enforcement mechanism for Section 1557

discrimination claims, see Compl. ¶¶ 102-112, 117, 230, 254, does not explicitly recognize that

compensatory damages are available for violations of Section 1557, see id. ¶¶ 115-117, 231, and

does not explicitly recognize a private right of action under Section 1557, see id. ¶¶ 113-14, 117,

231. Even if plaintiffs had established standing to assert these claims (and they have not), they

would fail as a matter of law.

       First, plaintiffs misread the statute, which states that “[t]he enforcement mechanisms

provided for and available under such title VI, title IX, section 794, or such Age Discrimination

Act shall apply for purposes of violations of [Section 1557].” 42 U.S.C. § 18116(a). The most

straightforward construction of the provision suggests that individuals may employ the

enforcement mechanism available under each statute, depending on what cause of action the

individual intends to bring. Reading the statute to require a unitary standard, as plaintiffs advocate

and the prior rule provided for, would have required courts to apply Title VI mechanisms to, for

example, Title IX claims. See 85 Fed. Reg. at 37,202. As HHS has explained, the statute cannot

be read as “blend[ing] new standards and preexisting standards from underlying civil rights

regulations, and impos[ing] those standards alongside the underlying regulations . . . left in place.”

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Id.

       Accordingly, a majority of the courts that have interpreted Section 1557 agree with HHS’s

approach. See Briscoe v. Health Care Serv. Corp., 281 F. Supp. 3d 725, 738 (N.D. Ill. 2017)

(“Taken together, the first two sentences of § 1557 unambiguously demonstrate Congress’s intent

‘to import the various different standards and burdens of proof into a Section 1557 claim,

depending upon the protected class at issue.’” (quoting Se. Pa. Transp. Auth. v. Gilead Scis. Inc.,

102 F. Supp. 3d 688, 698–99 (E.D. Pa. 2015)); York v. Wellmark, Inc., No. 4:16-cv-00627

RGECFB, 2017 WL 11261026, at *18 (S.D. Iowa Sept. 6, 2017) (“Congress clearly intended to

incorporate the statutes’ specific enforcement mechanisms rather than create a general catch-all

standard applicable to all discrimination claims.’’), aff’d, 965 F.3d 633 (8th Cir. 2020); see also

Galuten on Behalf of Estate of Galuten v. Williamson Med. Ctr., No. 3:18-cv-00519, 2019 WL

1546940, at *5. (M.D. Tenn. Apr. 9, 2019) (same); E.S. by and through R.S. v. Regence BlueShield,

No. C17-01609 RAJ, 2018 WL 4566053, at *4 (W.D. Wash. Sept. 24, 2018); Doe v. BlueCross

BlueShield of Tenn., Inc., No. 2:17-cv-02793-TLP-CGC, 2018 WL 3625012, at *6 (W.D. Tenn.

July 30, 2018), aff’d, 926 F.3d 235 (6th Cir. 2019). Although one unpublished decision from the

District of Minnesota, Rumble v. Fairview Health Services, favored plaintiffs’ interpretation, it

concluded that “the language of Section 1557 is ambiguous, insofar as each of the four statutes

utilize different standards for determining liability, causation, and a plaintiff's burden of proof.”

No. 14-cv-2037 SRN/FLN, 2015 WL 1197415, at *10 (D. Minn. Mar. 16, 2015). Because the

2020 Rule’s interpretation of that language—an interpretation that avoids blending standards

between the various statutes that Section 1557 incorporates—is, at the very least, a reasonable one,

it is entitled to deference. See Chevron, 467 U.S. at 844.

       Similarly, HHS eliminated § 92.301(b) of the 2016 Rule, which stated that

“[c]ompensatory damages for violations of Section 1557 are available in appropriate

administrative and judicial actions brought under this rule,” 85 Fed. Reg. at 37,202, for consistency

with HHS’s approach to the legal standards applicable to Section 1557 violations. HHS explained

that under “applicable Federal case law, . . . compensatory damages are generally unavailable for

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claims based solely on a Federal agency’s disparate impact regulations.” Id. Accordingly, and

consistent with HHS’s position on the appropriate legal standards under Section 1557, HHS

instead provided that whether compensatory damages are available depends on whether they are

available under statutes and regulations applicable to Title VI, Title IX, the Age Act, or Section

504 claims, respectively. Id. at 37,202-37,203. “To the extent compensatory damages are, or are

not, available under those regulations, the regulations will provide for enforcement of Section 1557

in applicable circumstances in the same way.” Id. at 37,202-37,203. HHS reasonably explained

that its “approach is consistent with both the best interpretation of the text and the court decisions

. . . indicating that Section 1557 does not impose a single standard but instead incorporates the

distinct enforcement mechanisms of each of the four civil rights statutes described in Section

1557.” Id. at 37,203.

       Plaintiffs claim that HHS violated the APA in eliminating § 92.301(b) from the 2016 Rule

because “HHS ignores entirely its own statement in the preamble to the 2016 Final Rule that its

interpretation of Section 1557 as authorizing compensatory damages was consistent with HHS’s

‘interpretations of Title VI, Section 504, and Title IX.’” Compl. ¶ 116. But plaintiffs demand

more than the APA requires. Because “HHS expressly confronted its prior policy . . . and delivered

a sufficiently reasoned explanation for its new position,” HHS’s decision not to explicitly

recognize that compensatory damages are available for violations of Section 1557 in the 2020 Rule

is not arbitrary or capricious. See Whitman-Walker, 2020 WL 5232076, at *30. And although

plaintiffs claim that this provision is “contrary to the plain language of the statute and law,” Compl.

¶ 117, as just explained with respect to the applicable legal standards, the most straightforward

construction of Section 1557 suggests that individuals may employ the enforcement mechanism—

include the type of remedies—available under each statute, depending on what cause of action the

individual intends to bring.

       Finally, HHS’s decision to not explicitly recognize a private right of action in the 2020

Rule cannot plausibly violate the APA. For one thing, as noted above in Part I.A.2, it is not

contrary to law because nothing in Section 1557 compels HHS to promulgate a regulation taking

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a position on the issue. And “it is most certainly incorrect to say that language in a regulation can

conjure up a private cause of action that has not been authorized by Congress.” Sandoval, 532

U.S. at 291. Either the statute provides a private cause of action or it does not. HHS purporting

to recognize one cannot change what the statute does. See id. Second, HHS explained that

“[m]ultiple [f]ederal courts have held that Section 1557, or the statutes underlying it, do not permit

private rights of action for disparate impact claims of discrimination on the basis of race or sex,

and there is a split on the question with respect to disability.” 84 Fed. Reg. at 27,851 (footnotes

omitted). In light of these cases, uncertainty as to whether or not the 2016 Rule’s prior statement

on Section 1557’s private cause of action is true, combined with HHS’s concerns regarding the

“increased compliance costs” associated with “the ability for private parties to sue,” 84 Fed. Reg.

at 27,883, provides sufficient explanation for why HHS “no longer intends to take a position in its

regulations on the issue of whether Section 1557 provides a private right of action,” 85 Fed. Reg.

at 37,203.
             6. HHS Sufficiently Explained its Decision to Eliminate Regulatory Protections
                Against Discrimination on the Basis of Association.
       Plaintiffs challenge HHS’s decision to repeal § 92.209 of the 2016 Rule, which addressed

discrimination faced by an individual or an entity on the basis of the race, color, national origin,

age, disability, or sex of an individual with whom the individual or entity is known to or is believed

to have a relationship or association. See 85 Fed. Reg. at 37,199; Compl. ¶¶ 235, 244. But HHS

explained that the 2020 Rule “neither abrogates nor withdraws any protections available under the

incorporated civil rights statutes or their implementing regulations.” 85 Fed. Reg. at 37,199. “It

simply declines to use the Section 1557 regulation to identify protections beyond those specifically

identified in the text of the relevant statutes and regulations.” Id. And explaining “why one ‘policy

is more consistent with statutory language than alternative policies’ is a good reason for a policy

change.” District of Columbia 444 F. Supp. 3d. at 20 (quoting Encino Motorcars, LLC, 136 S. Ct.

at 2127). Accordingly, plaintiffs’ challenge should be dismissed.




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            7. HHS Sufficiently Explained its Decision to Make Conforming Modifications
               to Other Regulations.
        Plaintiffs challenge HHS’s conforming modifications to other regulations. See Compl.

¶¶ 148-158, 234, 243. But, as HHS explained, each of these changes was within its statutory

authority. See 85 Fed. Reg. at 37,219-37,221. And HHS explained that it “deem[ed] it appropriate

to pursue a more uniform practice concerning nondiscrimination categories across programs and

activities to which Section 1557 applies, and to do so consistent with the government’s position

concerning discrimination on the basis of sex.” Id. at 37,219. Because HHS displayed “awareness

that it is changing position” and showed “that there are good reasons for the new policy,” Whitman-

Walker, 2020 WL 5232076, at *32 (quoting Fox, 556 U.S. at 515), and because these conforming

modifications were within HHS’s statutory authority, plaintiffs’ challenge should be dismissed.

        B. Plaintiffs’ Constitutional Claims Fail as a Matter of Law.

            1. The Complaint Does Not State An Equal Protection Claim.

        Plaintiffs’ equal protection claim, Compl. ¶¶ 259-73, falls short. Equal protection prohibits

government from discriminating against a class of persons without adequate justification. But

plaintiffs’ equal protection claim appears to be based on speculation about what other,

nongovernmental actors might do. See Compl. ¶ 271 (alleging “encouragement” of discrimination
by modifying antidiscrimination regulations). And that speculation seems to ignore that both

Section 1557 and its implementing rule expressly prohibit discrimination on the basis of race,

color, national origin, sex, age, and disability.

        Plaintiffs do not argue that Section 1557 violates the Constitution, and because the 2020

Rule does nothing more than repeat the text of the statute, the Rule likewise does not violate the
Constitution. Plaintiffs claim that the Rule involves “discrimination against LGBTQ people,” id.,

but neither Section 1557 nor the 2020 Rule “isolate[s LGBTQ people] or subject[s] them, as a

discrete group, to special or subordinate treatment.” See Schweiker v. Wilson, 450 U.S. 221, 231

(1981). 7 Rather, LGBTQ “individuals remain protected by the same civil rights laws as any other

7
 Because neither Section 1557 nor the Final Rule includes a classification on the basis of sexual
orientation or transgender status, it is unnecessary to determine the level of scrutiny that might
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individual, and [HHS] will vigorously enforce their statutory and regulatory civil rights.” 85 Fed.

Reg. at 37,192.

       The Complaint also fails to plausibly allege that the 2020 Rule was motivated by

discriminatory animus because none of the facts alleged in support of that claim, Compl. ¶¶ 167-

77, “either singly or in concert, establishes a plausible equal protection claim.” See DHS v. Regents

of the Univ. of Cal., 140 S. Ct. 1891, 1915 (2020). The statements by defendant Severino on which

plaintiffs rely are mere legal and policy disagreements, and there is nothing in the Constitution

prohibiting persons with different policy views from holding government positions. These

statements—“remote in time and made in [the] unrelated context[]” of defendant Severino’s life

as a private citizen, see id.—reflect reasonable criticisms about the prior rule (and other policies)

in a complex area of social policy, including the effect of the rule on “sincerely held religious

beliefs,” see Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719, 1729

(2018); nothing about Severino’s prior public statements indicates that the Final Rule reflects

animus toward the LGBTQ community. Indeed, the Bostock majority itself cautioned that it was

“deeply concerned with preserving the promise of the free exercise of religion,” which “lies at the

heart of our pluralistic society,” and acknowledged fears surrounding the intersection of its

construction of Title VII with the “religious convictions” of employers, acknowledging the

interaction of Title VII with express statutory exemptions for religious organizations, the First

Amendment, and the Religious Freedom Restoration Act as issues for future cases. 140 S. Ct. at

1754; see also id. at 1782 (Alito, J., dissenting) (explaining that Section 1557 challenges based on

apply to one. But nothing in Bostock altered the rule in this circuit that classifications on the basis
of sexual orientation or transgender status are subject to rational basis scrutiny. See Steffan v.
Perry, 41 F.3d 677, 684-85 (D.C. Cir. 1994) (en banc); Padula v. Webster, 822 F.2d 97, 103-14
(D.C. Cir. 1987). Nothing in Bostock’s analysis of the text of Title VII has any bearing on the
reach of the Constitution. See Bostock, 140 S. Ct. at 1753 (“[t]he only question before us is whether
an employer who fires someone simply for being homosexual or transgender has discharged or
otherwise discriminated against that individual ‘because of such individual’s sex’” as that phrase
is used in a particular provision of Title VII); see also Washington v. Davis, 426 U.S. 229, 238
(1976) (reversing Court of Appeals because it “erroneously applied the legal standards applicable
to Title VII cases in resolving the constitutional issue before it”).


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sex reassignment procedures “present difficult religious liberty issues because some employers

and healthcare providers have strong religious objections to sex reassignment procedures”).

Presumably, plaintiffs do not contend that these statements by Justices of the Supreme Court

amount to discriminatory animus.

           2. The Complaint Does Not State A Substantive Due Process Claim.

        Plaintiffs’ due process claim, Compl. ¶¶ 274-81, is likewise meritless. As an initial matter,

although plaintiffs assert that the 2020 Rule “encourag[es] health care providers and insurers to

interfere with and unduly burden patients’ access to medically necessary health care,” Compl.

¶ 277, they fail to clearly identify which provision of the Rule purportedly leads to that alleged

result. This lack of specificity alone warrants dismissal of plaintiffs’ claim.

        In any event, there is no substantive due process right to the specific medical care described

in the Complaint, see Compl. ¶¶ 276, 278. See Washington v. Glucksberg, 521 U.S. 702, 727-28

(1997) (“That many of the rights and liberties protected by the Due Process Clause sound in

personal autonomy does not warrant the sweeping conclusion that any and all important, intimate,

and personal decisions are so protected.”). And even assuming that substantive due process could

be defined as expansively as plaintiffs’ claim suggests, plaintiffs would still fail to state a claim

because any purported denial of or interference with medical care occurs at the hands of non-state

actors. See Compl. ¶ 277 (Rule “encourage[es] health care providers and insurers to interfere . . .).

Even if the 2020 Rule lessened protections against discrimination by third parties under Section

1557,

        [t]he Due Process Clause is phrased as a limitation on the State’s power to act, not
        as a guarantee of certain minimal levels of safety and security. It forbids the State
        itself to deprive individuals of life, liberty or property without ‘due process of law,’
        but its language cannot fairly be extended to impose an affirmative obligation on
        the State to ensure that those interests do not come to harm through other means.
DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 195 (1989). “Consistent with

these principles, . . . the Due Process Clauses generally confer no affirmative right to governmental

aid, even where such aid may be necessary to secure life, liberty, or property interests of which the


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government itself may not deprive the individual.” Id. at 196. Accordingly, plaintiffs’ substantive

due process claims must be dismissed.
             3. The Complaint does not State a Claim that the 2020 Rule Violates Plaintiffs’
                Free Speech Rights
          The 2020 Rule does not direct healthcare providers to use particular language with

patients, let alone require that patients use particular language in describing their sex, gender

identity, sexual orientation, or any other characteristic. Those determinations have been left to

the patient and his or her doctor. Yet plaintiffs argue that the 2020 Rule “chill[s]” patient

speech. Compl. ¶ 286. Plaintiffs point to no language in the Rule that might lead to such a

result.

          The First Amendment provides that “Congress shall make no law . . . abridging the

freedom of speech.” While the Supreme Court has held that certain government conduct may

impermissibly “chill” free speech, “[a]llegations of a subjective ‘chill’ are not an adequate

substitute for a claim of specific present objective harm or a threat of specific future harm.”

Laird v. Tatum, 408 U.S. 1, 13–14 (1972). Instead, to advance a cognizable free speech claim,

plaintiffs must identify “a governmental policy that . . . regulate[s], constrain[s], or compel[s] . . .

action on their part.” Amnesty Int’l, 568 U.S. at 419. Plaintiffs come nowhere close to doing so

here.

          Plaintiffs fail to identify which provision of the 2020 Rule threatens government action

against those who engage in particular speech. Presumably plaintiffs take issue with HHS’s

decision not to include a definition of “on the basis of sex.” 85 Fed. Reg. at 37,162–63. But that

aspect of the 2020 Rule does not prohibit—or even suggest—that particular language be used

when interacting with patients, or that patients face consequences from the government if they

engage in certain speech. Nor does any other provision of the Rule, for that matter. Instead,

healthcare providers and patients alike are free to use the speech of their choosing. Plaintiffs’

“subjective chill, fear, is not sufficient” to support their First Amendment claim, whatever the

unidentified fear on which it may be based. Am. Lib. Ass’n v. Barr, 956 F.2d 1178, 1196 (D.C.


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Cir. 1992). Finally, were there any concern, HHS went out of its way to ensure that First

Amendment rights would be protected by including language in the Rule making clear that

relevant provisions “shall be construed consistently with, as applicable, the First Amendment to

the Constitution.” 85 Fed. Reg. at 37,243. Simply put, nothing in the 2020 Rule does anything

to restrict plaintiffs’ First Amendment rights, and thus, the Court should dismiss this claim.

           4. The Complaint Does Not State an Establishment Clause Claim

       The Complaint alleges that the 2020 Rule “violates the Establishment Clause by creating

expansive religious exemptions for health care providers, plans and employees.” Compl. ¶ 296;

see also id. ¶¶ 291-302. But it is well settled that the federal government may provide religious

exemptions without offending the Establishment Clause. The Supreme Court’s cases “leave no

doubt that in commanding neutrality the Religion Clauses do not require the government to be

oblivious to impositions that legitimate exercises of state power may place on religious belief and

practice.” Bd. of Educ. of Kiryas Joel Vill. Sch. Dist. v. Grumet, 512 U.S. 687, 705 (1994); see

also Corp. of Presiding Bishop v. Amos, 483 U.S. 327, 334 (1987) (“‘This Court has long

recognized that the government may (and sometimes must) accommodate religious practices and

that it may do so without violating the Establishment Clause.”’ (quoting Hobbie v. Unemp’t

Appeals Comm’n of Fla., 480 U.S. 136, 144-45 (1987))).

       Here, the 2020 Rule merely makes clear that existing statutory protections for religious

objectors apply to the 2020 Rule, so plaintiffs must show that those existing statutory provisions

violate the Establishment Clause. And their Complaint makes out nothing to distinguish the

exemptions here from the many that have been upheld against Establishment Clause challenges.

See, e.g., Cutter v. Wilkinson, 544 U.S. 709, 720 (2005) (RLUIPA); Amos, 483 U.S. at 339 (Title

VII’s religious exemption); Walz v. Tax Comm’n of City of N.Y., 397 U.S. 664, 672–80 (1970)

(state property tax exemption for religious organizations); Gillette v. United States, 401 U.S. 437,

460 (1971) (exemption from military draft for religious conscientious objectors).

       What is more, there is no situation in which the court would grant relief on plaintiffs’

Establishment Clause claim. If plaintiffs succeed on their statutory claims, then the relief afforded

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under the APA would remedy any injury to plaintiffs and make the resolution of the constitutional

claim both unnecessary and imprudent under the doctrine of constitutional avoidance. If, on the

other hand, plaintiffs do not succeed in their statutory claim, meaning HHS demonstrates that its

construction of Section 1557 incorporating Title IX’s religious exemption is permissible, then

plaintiffs’ Establishment Clause claim necessarily fails because plaintiffs bring no challenge

against Section 1557 itself as violating the Constitution. See South Carolina v. United States, 2017

WL 976298, at *28-*29 (D.S.C. Mar. 14, 2017); see also Jean v. Nelson, 472 U.S. 846, 857 (1985)

(declining to reach constitutional question where agency had statutory discretion and the “fact that

protection results from the terms of a regulation or statute rather than from a constitutional holding,

is a necessary consequence of the obligation of all federal courts to avoid constitutional

adjudication except where necessary”); Nat’l Mining Ass’n v. Kempthorne, 512 F.3d 702, 711

(D.C. Cir. 2008) (quoting Chamber of Commerce v. FEC, 69 F.3d 600, 605 (D.C. Cir. 1995))

(courts “will not submit to an agency’s interpretation of a statute if it ‘presents serious

constitutional difficulties’”).
                                          CONCLUSION
        For the foregoing reasons, this Court should dismiss, for lack of standing, plaintiffs’ claims

under 5 U.S.C. § 706(2)(A) and (C), Compl. ¶¶ 235-58, to the extent they apply to the 2020 Rule’s

provisions regarding (1) the legal standards for enforcement of Section 1557 violations, Compl.

¶¶ 230, 245, 254; (2) private rights of action and compensatory damages, id. ¶¶ 231, 245; (3) the

scope of entities subject to Section 1557, Compl. ¶¶ 233, 247; and (4) discrimination on the basis

of association and conforming modifications made to other HHS regulations, Compl. ¶¶ 234, 235,

243, 244, 255. This Court should dismiss, as unripe, plaintiffs’ claims under 5 U.S.C. § 706(2)(A)-

(C), Compl. ¶¶235-302, to the extent they apply to (1) HHS’s decision not to define “on the basis

of sex” or specific instances of discrimination, like categorical coverage exclusions, in the 2020

Rule, Compl. ¶¶ 228, 229, 242, 243, 253, 255; (2) the 2020 Rule’s provisions regarding the legal

standards applicable for enforcing Section 1557 claims, id. ¶¶ 230, 245, 254; (3) HHS’s decision

not to explicitly recognize a private right of action for Section 1557 claims in the 2020 Rule, id.

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¶ 231; (4) HHS’s decision not to explicitly recognize by rule that compensatory damages are

available for violations of Section 1557, id. ¶ 231; and (5) HHS’s decision not to explicitly

recognize by rule Section 1557’s coverage of discrimination on the basis of association, Compl.

¶¶ 235, 244. This Court should dismiss, as moot, plaintiffs’ eighth claim for relief: “equitable

relief to preserve remedy,” id. ¶¶ 303-307. This Court should dismiss, for failure to state a claim,

plaintiffs’ claim under 5 U.S.C. § 706(2)(A) that the 2020 Rule violates Section 1554 of the ACA,

Compl. ¶ 248; and plaintiffs’ claims under 5 U.S.C. § 706(2)(A)-(C), Compl. ¶¶ 235-302, to the

extent they apply to (1) HHS’s decision not to explicitly prohibit by rule categorical coverage

exclusions; (2) HHS’s elimination of notice requirements, id. ¶¶ 236, 256; (3) the scope of entities

subject to Section 1557, id. ¶¶ 233, 247, 254; (4) the 2020 Rule’s legal standards for enforcement

of Section 1557, id. ¶¶ 230, 254; (5) HHS’s decision not to explicitly recognize by rule that

compensatory damages are available for violations of Section 1557, id. ¶¶ 231; (6) HHS’s decision

not to explicitly recognize by rule a private right of action for Section 1557 claims in the 2020

Rule, id.; (7) discrimination on the basis of association, id. ¶¶ 235, 244; and HHS’s conforming

modifications to other regulations, id. ¶¶ 234, 243. And this Court should dismiss plaintiffs claims’

under 7 U.S.C. § 706(2)(B), that defendants violated the constitution, id. ¶¶ 259-302, in their

entirety.

Dated: September 29, 2020                     Respectfully submitted,
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